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                           EXHIBIT A
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     1                         - TRANSCRIPT UNDER SEAL -

     2                    IN THE UNITED STATES DISTRICT COURT

     3                    IN AND FOR THE DISTRICT OF DELAWARE

     4                                      - - -

     5
            H. LUNDBECK, A/S TAKEDA            :     CIVIL ACTION
     6      PHARMACEUTICAL COMPNAY             :
            LTD., TAKEDA                       :
     7      PHARMACEUTICALS U.S.A.,            :
            INC., TAKEDA                       :
     8      PHARMACEUTICALS                    :
            INTERNATIONAL AL and TAKEDA        :
     9      PHARMACEUTICALS AMERICA,           :
            INC.,                              :
    10                                         :
                               Plaintiffs,     :
    11                                         :
                  vs.                          :
    12                                         :
            ALKEM LABORAROTIES LTD., et        :
    13      al.,                               :
                                               :
    14                         Defendant.      :     NO. 18-88 (LPS)

    15
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    16
                                           Wilmington, Delaware
    17                                     Friday, September 25, 2020
                                           2:00 o'clock, p.m.
    18                                     ***Telephone conference

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                                             - - -
    20
           BEFORE:   HONORABLE JENNIFER L. HALL, U.S. MAGISTRATE JUDGE,
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                                            - - -
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    24
                                                     Valerie J. Gunning
    25                                               Official Court Reporter
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     1     APPEARANCES:

     2
                          MORRIS, NICHOLS, ARSHT & TUNNELL LLP
     3                    BY: MEGAN E. DELLINGER, ESQ.

     4
                                     -and-
     5

     6                    COVINGTON & BURLING
                          BY: BRIANNE BHARKHDA, ESQ. and
     7                         THOMAS J. SULLIVAN, ESQ.
                               (Washington, D.C.)
     8

     9                         Counsel for Plaintiffs

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    11                   HEYMAN ENERIO GATTUSO & HIRZEL LLP
                         BY: DOMINICK T. GATTUSO, ESQ.
    12

    13
                                 -and-
    14
                          BRINKS GILSON & LIONE
    15                    BY: MARK H. REMUS, ESQ.
                               LAURA A. LYDIGSEN, ESQ. and
    16                         JASON W. SCHIGELONE, ESQ.
                               (Chicago, Illinois)
    17

    18                         Counsel for Defendant

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                                      -   -   -
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     1                           P R O C E E D I N G S

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     5                   (The following telephone conference was held

     6     beginning at 2:00 p.m.)

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     8                   THE COURT:    Good afternoon, everyone.       This is

     9     Jennifer Hall.     We are here today for a discovery dispute

    10     teleconference in Civil Action No. 18-88.

    11                   Let's have appearances for the record, starting

    12     with plaintiff.

    13                   MS. DELLINGER:     Good afternoon, Your Honor.

    14     This is Megan Dellinger from Morris Nichols on behalf of the

    15     plaintiff, and with me on the line is my co-counsel from

    16     Covington & Burling, Brianne Bharkhda and Tom Sullivan, and

    17     Ms. Bharkhda will be handling the argument on behalf of

    18     plaintiff today.

    19                   THE COURT:    Very good.    Good afternoon to all of

    20     you.

    21                   MR. GATTUSO:     Good afternoon, Your Honor.       I

    22     apologize.    Good afternoon, Your Honor.       It's Dominick

    23     Gattuso from Heyman Enerio.

    24                   I have with me on the line Mark Remus, Laura

    25     Lydigsen and Jason Schigelone from the Brinks Gilson & Lione
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     1     firm.

     2                   I also have with me on the line, Your Honor,

     3     Maggie Spencer, who is in-house counsel with Sandoz.

     4                   Mr. Remus is going to argue on behalf of Sandoz

     5     today, Your Honor.

     6                   THE COURT:    Of course.    Good afternoon to all of

     7     you.

     8                   I understand that this dispute is between

     9     plaintiff and Sandoz.      Is there anyone else on the line that

    10     wishes to make an appearance for the record?

    11                   Okay.   Hearing no response, I will also say for

    12     the record today that our court reporter is Val Gunning.            We

    13     are still in the midst of the Covid 19 pandemic.           I'm at the

    14     courthouse.    My courtroom deputy and clerk are also dialed

    15     in on separate lines.      We are not currently with the court

    16     reporter, but she has dialed in as well.

    17                   Okay.   Let's have the movant begin.        I was

    18     hoping we could limit our comments to around five minutes if

    19     that works.    This seems to be a pretty straightforward

    20     dispute, and I will let everyone know that I've already

    21     reviewed the letters in detail as well as the attachments

    22     and the relevant portions of the docket.         So go ahead.

    23                   MS. BHARKHDA:     Your Honor, this is Brianne

    24     Bharkhda for plaintiff, and I'm happy to answer any specific

    25     questions Your Honor may have since you have reviewed the
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     1     letters and the briefing.       If there's anything in particular

     2     you would like me to answer, I'm happy to do so.

     3                   We have a dispute here relating to two dependent

     4     claims of the '096 patent, claims 4 and 5.          We indicated to

     5     Sandoz in July after some other patents dropped out of the

     6     case that we were no longer planning on asserting claims 4

     7     and 5 of the '096 patent and therefore we do not think

     8     expert discovery relating to those patents would not

     9     necessary.    Even though Sandoz had on a number of occasions

    10     told plaintiff and the Court that they didn't believe any of

    11     the claims of the '096 patent were properly in the case,

    12     Sandoz took the position that it was not sufficient for

    13     plaintiffs to indicate that it was no longer asserting those

    14     claims, that in order to remove the dispute and the expert

    15     discovery, we needed to do something more.          They

    16     specifically suggested

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    23                   Now, Dr. -- the parties in this case, this is a

    24     large Hatch-Waxman matter, are in the middle of expert

    25     discovery, expert deposition for various experts in the
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     1     case.    Dr. Gozzo submitted an expert report that related

     2     only to claims 4 and 5 of the '096 patent with respect to

     3     the claims that remain in the, arguably in the case as of

     4     today.   Her report also related to the crystalline form

     5     patents that had been in the case, but those had been

     6     dismissed by Judge Stark.       Dr. Myerson is similarly

     7     situated.    The opinions that he provided with respect to

     8     Sandoz relate to claim 4 and 5 of the '096 patent.

     9                   In light of                              , we don't

    10     think that there is a proper dispute anymore.          We have

    11     indicated that we don't plan to call Dr. Gozzo or Dr.

    12     Myerson at trial, but Sandoz has indicated that it wants to

    13     pursue the deposition of Dr. Myerson and Dr. Gozzo

    14     nonetheless, and we filed a protective order in this case as

    15     a result.

    16                   Now, the reason that Sandoz gave --

    17                   THE COURT:     Counsel, counsel, if I could

    18     interrupt you for just a minute.

    19                   MS. BHARKHDA:     Yes.

    20                   THE COURT:     So are you telling me that -- so

    21     Sandoz's claim for a D.J. of noninfringement is still

    22     pending.    Is that right?

    23                   MS. BHARKHDA:     There have been -- we have not

    24     filed a motion to dismiss at this point.         Frankly, just to

    25     be clear, the D.J. action is for -- the D.J. claim relates
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     1     broadly to just as the claims of the '096 patent.           It's not

     2     specifically for claims 4 and 5.

     3                   We have not filed a motion to dismiss those.

     4     Our understanding now from Sandoz's letter is that that is

     5     what it thinks is necessary to formally resolve of this

     6     dispute.    We can do so.    We don't think that should be

     7     necessary because I think given                                  , the

     8     parties should be stipulating to dismissal without prejudice

     9     of those portions of the pending claims that relate to

    10     claims 4 and 5, but if Sandoz will not stipulate to that,

    11     then we can file a formal motion to dismiss.          But as of

    12     today, those claims are still in the case.          Regardless, we

    13     think given                               even while such a motion

    14     were pending, if Sandoz indicates that it will require us to

    15     file such a motion, the protective order is still

    16     appropriate because we don't see how their goal, how those

    17     claims are going to remain in the case at the end of such a

    18     motion.

    19                   So this issue about whether or not a motion to

    20     dismiss has been filed seems like form over substance to us

    21     because I don't see a real argument that claims 4 and 5 are

    22     actually still in the case.

    23                   THE COURT:    Well, and I appreciate your argument

    24     about it seeming like form over substance, but the issues

    25     that I'm dealing with is that I am not the Judge who is
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     1     going to be deciding whether or not those claims are in the

     2     case, and it seems to me that my decision is not being made

     3     in a vacuum.

     4                    I can look at the docket and see that there was

     5     some discussion about dismissing claims or counterclaims

     6     relating to the '096 patent, and that Judge Stark said

     7     nothing is going to happen at this time, and if you want to

     8     file a motion to dismiss, you could file a motion to

     9     dismiss, and that didn't happen.        So I don't know the

    10     backstory.    I'm assuming it doesn't really matter because

    11     I'm not the one that would be deciding that motion anyway,

    12     but today as it stands before me, I've got these, the D.J.

    13     counterclaims pending.

    14                    I've heard you say you weren't going to offer

    15     the testimony of Dr. Gozzo and Myerson against Sandoz at

    16     trial and I want to make sure I understand what you are

    17     saying.

    18                    If we move to trial and Sandoz moves forward

    19     requesting a D.J. of noninfringement, are you saying that in

    20     response, you're not going to offer the testimony of Dr.

    21     Gozzo and Myerson?

    22                    MS. BHARKHDA:    Well, Your Honor, if there -- if

    23     by some -- if there is some decision by the Court that the

    24     claims are still in the case, we would have to offer that

    25     testimony at trial, but we don't think there's an actual
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     1     dispute here, and we -- I don't think -- the Judge said that

     2     the parties may file motions to dismiss.          Sandoz has argued

     3     to us that it shouldn't be necessary for the parties to do

     4     that.    We should be agreeing to dismiss all.         In fact, they

     5     said that to the Court when responding, when filing their

     6     motion to dismiss regarding the '910 patents.           They didn't

     7     give us advance notice of their motion to dismiss and then

     8     we decided not to oppose it, so we just filed the response

     9     not opposing it.

    10                    In response to that, Sandoz told the Court that

    11     they believed that they should not have had to go to the

    12     burden and expense of filing the motion to dismiss at all.

    13     We should have just agreed to dismiss the claims, and we

    14     think that that is what should be done here.           We have given

    15     Sandoz advance notice of the fact that we think these claims

    16     should be out of the case.       If by some measure the Court

    17     were to find that there's subject matter jurisdiction here

    18     supporting Sandoz's claims, then we would, we would have to

    19     put on Dr. Myerson and Gozzo at trial.          We don't think

    20     that's the case, and the only basis that Sandoz has given

    21     for why the claims should still be in the case to us is that

    22     they don't believe that                                  is

    23     sufficient.

    24                    Now, we were expecting in Sandoz's responsive

    25     letter brief to Your Honor consistent with what they put in
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     1     their discovery dispute letter that they were going to

     2     explain the basis, the legal basis for their contentions

     3     that                                                         didn't

     4     extinguish the case or controversy.         So that's their basis

     5     for saying they would need to go forward, would be a

     6     deposition.     At least that was articulated to us prior to

     7     receipt of their responsive letter.

     8                    And they did not do so, which I think reinforces

     9     our point that we think it is legally sufficient and there's

    10     no basis for (inaudible) the claims in the case.           But if the

    11     real concern is that there's no actual motion to dismiss on

    12     file, we'll file one immediately, but we don't think that

    13     should be necessary and Sandoz we don't think has a legal

    14     position to oppose it.

    15                    So there still isn't a basis to go forward with

    16     these depositions in the meantime if the likely outcome of a

    17     motion to dismiss even if Sandoz isn't going to oppose it or

    18     that we will prevail with Judge Stark.

    19                    THE COURT:    All right.    One question I had about

    20     that is, we're in September, we're in late September, and so

    21     this is two months after I see a docket entry saying that if

    22     anyone wants to file any motions to dismiss, they should

    23     file it.    So I'm trying to understand how what happened in

    24     the meantime in terms of why is there so much delay in the

    25     motion to dismiss.
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     1                    MS. BHARKHDA:    Sure.    I'm happy to explain the

     2     timeline.

     3                    So on July 7th, Sandoz told plaintiffs that they

     4     believed that the claims relating to the '096 patent should

     5     be dismissed without prejudice.         On July 8th, Sandoz told

     6     the Court the same thing.       They -- and that was in docket

     7     entry 39.

     8                    Plaintiffs' counsel was considering that

     9     position, and on July 22nd, we informed Sandoz that and

    10     Judge Stark that we were no longer asserting claims 4 and 5

    11     of the '096 patent against Sandoz.         We made that very clear

    12     in July, as soon as plaintiff, our clients were onboard that

    13     we were no longer pursuing those claims.          And we thought

    14     that frankly would resolve the issue because Sandoz had

    15     repeatedly been on record with both plaintiff and the Court

    16     indicating that they didn't believe there was subject matter

    17     jurisdiction over any of the claims of the '096 patent.             But

    18     on that same date, Sandoz made an about face and stated that

    19     they would, that they didn't agree that claims 4 and 5 of

    20     the '096 patent were out of the case, and instead Sandoz

    21     demanded                                                and indicated

    22     that they would insist on deposing Dr. Myerson and Dr. Gozzo

    23     unless

    24                    Now, that was -- and that happened on July 28th.

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    10     the claims are no longer in the case, and Drs. Myerson and

    11     Gozzo didn't need to be deposed.

    12                    And in their previous position, Sandoz indicated

    13     they did not agree to that, that they didn't think

    14                was sufficient, and they were going to proceed with

    15     the depositions of Dr. Myerson sand Dr. Gozzo, hence our

    16     filing of the, of our motion for a protective order.

    17                    And the first tame that we -- and we are clear

    18     that we think Sandoz should be stipulating to dismissal

    19     without prejudice of the claims because we don't think

    20     they're in the case, and this is the -- the first time that

    21     we heard Sandoz's argument that the real problem here is

    22     that we have not filed a formal motion to dismiss within the

    23     letter briefs to the Court on this Tuesday.

    24                    So we can file a formal motion to dismiss to

    25     resolve the dispute, but all of the facts are going to be
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     1     the same and there's no cause for deposing these witnesses

     2     at this point in time.

     3                    THE COURT:    All right.    I gave you some extra

     4     time and I will give the other side some equal time, but I

     5     have one more question.       Assuming that I do permit the

     6     deposition of Dr. Gozzo and Myerson to go forward, there's

     7     this other issue about whether or not you're barred from

     8     conferring with Dr. Gozzo in preparation of her deposition.

     9                    Can you just tell me what has happened with Dr.

    10     Gozzo so far?     Was there a portion of her deposition that

    11     was joint and then portions that were specific to individual

    12     defendants or have all of the depositions of Dr. Gozzo been

    13     individual issue depositions?

    14                    MS. BHARKHDA:    There were two prior individual

    15     issue depositions of Dr. Gozzo.        There was no joint

    16     questioning and no joint deposition.         There was a deposition

    17     by MSN and a deposition by Torrent, and they were separate

    18     self-contained depositions.

    19                    If Your Honor would like to see, for example,

    20     the transcript of those indicating that they -- showing that

    21     they went only lawyers for MSN were at the MSN deposition.

    22     They went on the record and began as the normal deposition

    23     and they closed the deposition at the end.          The Torrent

    24     deposition was only attended by Torrent's lawyers, and

    25     obviously, lawyers for plaintiffs were on both.           They opened
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     1     the deposition as a separate deposition and closed it as a

     2     separate deposition.

     3                    So I'm happy to provide.      And there were only

     4     questions about -- they pertained to the individual

     5     infringement issues for MSN and Torrent each respectively.

     6     And if Your Honor would like to see the transcript of those,

     7     we're happy to provide them.

     8                    THE COURT:    No, I don't, I don't need to see it.

     9     But just to be clear, those were also marked confidential

    10     under the protective order as well?

    11                    MS. BHARKHDA:    Yes.

    12                    THE COURT:    Okay.   Very good.

    13                    All right.    Let me hear from Sandoz regarding

    14     the issues in dispute.       Go ahead, counsel.

    15                    MR. REMUS:    Thank you, Your Honor.      This is Mark

    16     Remus.    I will be speaking on behalf of Sandoz and Lex.

    17                    This is not a matter of form over substance.           I

    18     think it's very important to resolving this issue to keep

    19     our eyes focused on what specifically the Court has been

    20     asked to decide, and that is should plaintiff get a

    21     protective order preventing further discovery of their

    22     experts by Sandoz?      What is not before the Court is whether

    23     or not there's a case or controversy or continuing subject

    24     matter jurisdiction.

    25                    Plaintiffs have not filed that motion.         Judge
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     1     Stark told them that if they wanted to challenge

     2     jurisdiction, they need to file a motion and they have not

     3     done that.     So the only issue that we're here to discuss

     4     today is whether or not their application for protective

     5     order is proper and Sandoz strongly believes it is not

     6     proper.

     7                    Plaintiffs' request is contrary to both the

     8     letter and the spirit of local Rule 30.2.          Local Rule 30.2

     9     allows somebody to challenge further deposition testimony to

    10     get a protective order under Rule 26 or Rule.           Protective

    11     orders for those rules are granted to prevent annoyance,

    12     embarrassment, oppression.       None of that is present here.

    13                    The only basis for plaintiffs' request is that

    14     they think there's no longer subject matter jurisdiction.

    15     The only challenge for that is to file a Rule 12 motion, and

    16     Rule 12 is not mentioned anywhere in local Rule 30.2 as a

    17     basis for terminating a deposition.

    18                    Plaintiff took it upon themselves for self-help

    19     to give themselves a stay of discovery and filed its motion

    20     for a protective order on an improper basis knowing full

    21     well that Judge Stark told them if they want to get rid of

    22     the claim, they have to file a motion to dismiss.

    23                    Now, all of this gamesmanship by plaintiffs has

    24     worked a great prejudice on Sandoz.         Sandoz coordinated with

    25     MSN and Torrent in an extent to streamline the deposition of
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     1     Dr. Gozzo.

     2                    Plaintiff sat on this issue for many weeks as

     3     you just heard and then ripped the rug out underneath from

     4     defendants just days before the Gozzo deposition, which

     5     frustrated preparation for all parties on the Gozzo

     6     deposition, and now plaintiffs seek to exacerbate that

     7     prejudice by asking this Court to forego local Rule 30.6 and

     8     allow them to speak to Dr. Gozzo before Sandoz takes Dr.

     9     Gozzo's deposition.      And that is wholly improper.

    10                    Local Rule 30.6 is designed for exactly where --

    11     the situation where counsel should not be allowed to talk to

    12     their witness about the substance of their testimony based

    13     on questions that have already been asked.          This notion that

    14     each defendant constitutes a separate deposition is a legal

    15     fiction that was created by Covington in these letters and

    16     has no basis in all of the history of this case up until

    17     this particular dispute, and we cited that in our letter

    18     brief where both Judge Stark and plaintiffs themselves

    19     referred to a deposition of Dr. Myerson and Dr. Gozzo in the

    20     singular, and this case has been consolidated for all

    21     purposes.

    22                    So this deposition of Dr. Gozzo is a single

    23     deposition and plaintiffs should not be allowed to review

    24     that transcript from the MSN and Torrent depositions and

    25     then coach Dr. Gozzo what to say for the Sandoz depositions
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     1     based on what they've already learned.

     2                    This is no different than if Dr. Gozzo were

     3     testifying on the stand at trial.         If MSN and Torrent finish

     4     their questioning of Dr. Gozzo, I would be shocked if Judge

     5     Stark allowed plaintiffs to then talk to Dr. Gozzo about the

     6     substance of her testimony before Sandoz questioned Dr.

     7     Gozzo.    The same should apply to the depositions here.

     8                    As Your Honor noted, we don't have much time.

     9     Trial is set for January of 2021.         We need to schedule these

    10     depositions of Dr. Gozzo and Dr. Myerson so that we can be

    11     trial ready by the time set by Judge Stark.

    12                    There is no basis for a protective order here.

    13     If plaintiffs want to challenge subject matter jurisdiction,

    14     Judge stark told them how to do that, and that is filing a

    15     Rule 12 motion.

    16                    THE COURT:    Counsel, let me ask you.      The way I

    17     understood how Dr. Gozzo's deposition or depositions have

    18     been proceeding is that they've been completely separate

    19     among defendants.      You're suggesting something different.

    20     Can you straighten me out here?

    21                    MR. REMUS:    I can't speak to how the MSN and

    22     Torrent depositions specifically were handled because we

    23     were not present at that deposition, so we can't say what

    24     was or was not on the transcript.         What I can say is that

    25     every discussion the parties have had about these
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     1     depositions refer to the depositions in the singular, a

     2     deposition of Dr. Myerson, and just because one defendant

     3     finishes their questioning and another begins does not mean

     4     that a new deposition has begun.

     5                    THE COURT:    Okay.   I understand your position.

     6     Anything else you wanted to add?

     7                    MR. REMUS:    No.   Thank you, Your Honor.

     8                    THE COURT:    All right.    We'll turn it back over

     9     to the plaintiff for the last word.         Just a minute, please.

    10     Go ahead.

    11                    MS. BHARKHDA:    Your Honor, I did want to address

    12     the issue of the legal standard for a protective order for

    13     absent burden, annoyance, and there is a reason here

    14     particularly why going forward with depositions that are not

    15     actually going to be at issue in the case totally meets that

    16     standard.

    17                    First of all, Dr. Myerson is scheduled to sit

    18     for more than 40 hours of depositions in this case, and so

    19     to ask him if Sandoz, if Sandoz matters are not really

    20     particularly in this case, to sit for more time is a burden

    21     both to the witness and to plaintiffs.

    22                    Dr. Gozzo, similarly.      We would have to take

    23     additional time out of the deposition she has already given

    24     to do so.    And as a general matter, there are 29 different

    25     experts in this case.       There are at least two to three
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     1     depositions that happen in a week.         Some of these are

     2     multi-day accept depositions in this case, so there is a lot

     3     happening to add on two depositions here where the actual

     4     issues are not in dispute.

     5                    And the other issue is that right now Dr.

     6     Myerson is scheduled to be deposed, I believe it's the

     7     second week of November, and so even if plaintiff filed

     8     their motion and (inaudible) and was going to dismiss, I

     9     think issue is, the question of whether or not it's

    10     appropriate for Sandoz to participate in that deposition is

    11     still going to be an issue and we don't think it's

    12     appropriate or proper.

    13                    So it's not just a matter of file a motion to

    14     dismiss and wait to see what Dr., excuse me, what Judge

    15     Stark does with it.      I mean, one question is, if we file a

    16     motion to dismiss, is Sandoz going to oppose it, because

    17     right now we don't have a clear answer on that one way or

    18     the other or what the basis for doing so would be, and

    19     absent that, this bogeyman of the fact that a formal motion

    20     to dismiss hasn't been filed yet I don't think resolves the

    21     issue.

    22                    THE COURT:    All right.    I appreciate your

    23     position and I understand your position.          Counsel, I'm ready

    24     to rule on this dispute and my ruling is as follows.

    25                    Plaintiffs' request for a protective order to
Case 1:18-cv-00088-LPS Document 964-1 Filed 11/03/20 Page 21 of 58 PageID #: 41768
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     1     prevent Sandoz from deposing Dr. Gozzo and Myerson is

     2     denied.    The Court can issue a protective order for good

     3     cause to protect a person or party from annoyance,

     4     embarrassment, oppression, or undue burden or excess.            The

     5     burden of persuasion is on the party seeking the protective

     6     order.

     7                    Here, plaintiff contends that good cause exists

     8     because the deposition testimony is not relevant.            I have

     9     reviewed the letters and attachments.         I've reviewed the

    10     cited portions of the docket.        I have an understanding of

    11     what's likely going on here and I'm fully aware that this

    12     motion before me is only a little piece of a much larger

    13     dispute, but I've only been referred this piece and I'm only

    14     going to decide this piece.        And in my mind, the operative

    15     facts to me in deciding my piece are these.

    16                    One, Sandoz has a live counterclaim for a

    17     declaratory judgment of noninfringement.          Not only is it

    18     live, it is not currently subject to a motion to dismiss.

    19                    Two, plaintiff intends to offer the testimony of

    20     Dr. Gozzo and Myerson in defense of that counterclaim it has

    21     tried.

    22                    My decision is also informed by the context

    23     here, which is that we're talking about a video deposition

    24     regarding infringement opinions that have already been set

    25     forth in expert reports.       The only question is whether
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     1     Sandoz can depose these experts on those opinions.            On those

     2     facts, plaintiffs' request is denied.

     3                    There is also an issue about plaintiffs, whether

     4     plaintiffs are currently barred under Delaware local Rule

     5     30.6 from conferring with Dr. Gozzo in preparation of her

     6     deposition.     Essentially, as I understand it, Sandoz seeks

     7     to prevent plaintiff from prepping Dr. Gozzo for her

     8     deposition.

     9                    Under the particular circumstances here, I'm

    10     unpersuaded by Sandoz's argument.         Again, I've read the

    11     submissions and I've looked at the relevant portions of the

    12     docket and we're not operating in a vacuum here.           Chief

    13     Judge Stark has already ruled on what depositions can be

    14     taken of Dr. Gozzo.      I understand that Dr. Gozzo's

    15     deposition taken by the other two defendants have been

    16     completely separate.      There is no common portion of that

    17     deposition.     However, notwithstanding the fact that

    18     plaintiff can prep Dr. Gozzo, Sandoz will be permitted to

    19     conduct a short colloquy at the beginning of the deposition.

    20                    You can ask if plaintiff consulted with Dr.

    21     Gozzo prior to the deposition.        If that answer is yes, you

    22     can ask whether Dr. Gozzo consulted with counsel for

    23     plaintiff regarding testimony she has already given.            You

    24     can't ask what was said.       And you can ask about which areas

    25     of the testimony already given was the consultation.            You
Case 1:18-cv-00088-LPS Document 964-1 Filed 11/03/20 Page 23 of 58 PageID #: 41770
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     1     can't ask what was said.       And you can make a record that

     2     this happened.

     3                    If, for whatever reason, Dr. Gozzo presents

     4     diametrically opposed testimony, then you can try to make

     5     some hay with Judge Stark at trial, because I understand

     6     this is going to be a bench trial.         But I actually think

     7     this is extremely unlikely to happen in light of the fact

     8     that it seems to me this case, or these particular claims

     9     won't be tried, number one, and, number two, I think it's

    10     unlikely that the plaintiff would present diametrically

    11     opposed testimony, but that's not for me to say.           You can

    12     make this record.      I hope that was clear to everyone.

    13                    Counsel for plaintiff, any questions?

    14                    MS. BHARKHDA:    I don't believe so, Your Honor.

    15                    THE COURT:    Okay.   Counsel for Sandoz, any

    16     questions?

    17                    MR. REMUS:    No questions, but one request, and

    18     that is we would ask that at least temporarily that the

    19     court reporter maintain this transcript under seal so that

    20     we have an opportunity to review it to see if there's

    21     anything confidential.

    22

    23                                                      , and we would just

    24     like the opportunity to review that transcript before it

    25     becomes public.
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     1                    THE COURT:    That's fine.    I understand that

     2     we're proceeding under the scheduling order that Judge Stark

     3     has entered in this case, and my recollection is that he has

     4     a standard provision about how these things should be

     5     treated, and if that's the appropriate procedure, then we'll

     6     let the transcript be marked confidential and you should

     7     proceed in accordance with what other followup procedures

     8     are set forth in the scheduling order.

     9                    Anything else, counsel?

    10                    MR. REMUS:    No.    Thank you, Your Honor.

    11                    THE COURT:    All right.     Thank you to all of you.

    12     I hope everyone is safe and well, and we'll be adjourned.

    13                    (Counsel respond, "Thank you, Your Honor.")

    14                    (Telephone conference concluded at 2:31 p.m.)

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Case 1:18-cv-00088-LPS Document 964-1 Filed 11/03/20 Page 30 of 58 PageID #: 41777




                          EXHIBIT B
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     1                         - TRANSCRIPT UNDER SEAL -

     2                    IN THE UNITED STATES DISTRICT COURT

     3                    IN AND FOR THE DISTRICT OF DELAWARE

     4                                       - - -

     5
             H. LUNDBECK, A/S TAKEDA            :     CIVIL ACTION
     6       PHARMACEUTICAL COMPNAY             :
             LTD., TAKEDA                       :
     7       PHARMACEUTICALS U.S.A.,            :
             INC., TAKEDA                       :
     8       PHARMACEUTICALS                    :
             INTERNATIONAL AL and TAKEDA        :
     9       PHARMACEUTICALS AMERICA,           :
             INC.,                              :
    10                                          :
                                Plaintiffs,     :
    11                                          :
                   vs.                          :
    12                                          :
             ALKEM LABORAROTIES LTD., et        :
    13       al.,                               :
                                                :
    14                          Defendant.      :     NO. 18-88 (LPS)

    15
                                              - - -
    16
                                           Wilmington, Delaware
    17                                     Friday, September 25, 2020
                                           2:00 o'clock, p.m.
    18                                     ***Telephone conference

    19
                                              - - -
    20
           BEFORE:    HONORABLE JENNIFER L. HALL, U.S. MAGISTRATE JUDGE,
    21
                                             - - -
    22

    23

    24
                                                      Valerie J. Gunning
    25                                                Official Court Reporter
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                                                                            2


     1     APPEARANCES:

     2
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     3                    BY: MEGAN E. DELLINGER, ESQ.

     4
                                      -and-
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     6                    COVINGTON & BURLING
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     7                         THOMAS J. SULLIVAN, ESQ.
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    12

    13
                                  -and-
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                               (Chicago, Illinois)
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    18                          Counsel for Defendant

    19
                                       -   -   -
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Case 1:18-cv-00088-LPS Document 964-1 Filed 11/03/20 Page 33 of 58 PageID #: 41780
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     1                            P R O C E E D I N G S

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     5                    (The following telephone conference was held

     6     beginning at 2:00 p.m.)

     7

     8                    THE COURT:    Good afternoon, everyone.       This is

     9     Jennifer Hall.     We are here today for a discovery dispute

    10     teleconference in Civil Action No. 18-88.

    11                    Let's have appearances for the record, starting

    12     with plaintiff.

    13                    MS. DELLINGER:     Good afternoon, Your Honor.

    14     This is Megan Dellinger from Morris Nichols on behalf of the

    15     plaintiff, and with me on the line is my co-counsel from

    16     Covington & Burling, Brianne Bharkhda and Tom Sullivan, and

    17     Ms. Bharkhda will be handling the argument on behalf of

    18     plaintiff today.

    19                    THE COURT:    Very good.    Good afternoon to all of

    20     you.

    21                    MR. GATTUSO:    Good afternoon, Your Honor.       I

    22     apologize.     Good afternoon, Your Honor.       It's Dominick

    23     Gattuso from Heyman Enerio.

    24                    I have with me on the line Mark Remus, Laura

    25     Lydigsen and Jason Schigelone from the Brinks Gilson & Lione
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     1     firm.

     2                    I also have with me on the line, Your Honor,

     3     Maggie Spencer, who is in-house counsel with Sandoz.

     4                    Mr. Remus is going to argue on behalf of Sandoz

     5     today, Your Honor.

     6                    THE COURT:    Of course.    Good afternoon to all of

     7     you.

     8                    I understand that this dispute is between

     9     plaintiff and Sandoz.       Is there anyone else on the line that

    10     wishes to make an appearance for the record?

    11                    Okay.   Hearing no response, I will also say for

    12     the record today that our court reporter is Val Gunning.             We

    13     are still in the midst of the Covid 19 pandemic.           I'm at the

    14     courthouse.     My courtroom deputy and clerk are also dialed

    15     in on separate lines.       We are not currently with the court

    16     reporter, but she has dialed in as well.

    17                    Okay.   Let's have the movant begin.       I was

    18     hoping we could limit our comments to around five minutes if

    19     that works.     This seems to be a pretty straightforward

    20     dispute, and I will let everyone know that I've already

    21     reviewed the letters in detail as well as the attachments

    22     and the relevant portions of the docket.          So go ahead.

    23                    MS. BHARKHDA:    Your Honor, this is Brianne

    24     Bharkhda for plaintiff, and I'm happy to answer any specific

    25     questions Your Honor may have since you have reviewed the
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     1     letters and the briefing.       If there's anything in particular

     2     you would like me to answer, I'm happy to do so.

     3                    We have a dispute here relating to two dependent

     4     claims of the '096 patent, claims 4 and 5.          We indicated to

     5     Sandoz in July after some other patents dropped out of the

     6     case that we were no longer planning on asserting claims 4

     7     and 5 of the '096 patent and therefore we do not think

     8     expert discovery relating to those patents would not

     9     necessary.     Even though Sandoz had on a number of occasions

    10     told plaintiff and the Court that they didn't believe any of

    11     the claims of the '096 patent were properly in the case,

    12     Sandoz took the position that it was not sufficient for

    13     plaintiffs to indicate that it was no longer asserting those

    14     claims, that in order to remove the dispute and the expert

    15     discovery, we needed to do something more.          They

    16     specifically suggested

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    23                    Now, Dr. -- the parties in this case, this is a

    24     large Hatch-Waxman matter, are in the middle of expert

    25     discovery, expert deposition for various experts in the
Case 1:18-cv-00088-LPS Document 964-1 Filed 11/03/20 Page 36 of 58 PageID #: 41783
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     1     case.    Dr. Gozzo submitted an expert report that related

     2     only to claims 4 and 5 of the '096 patent with respect to

     3     the claims that remain in the, arguably in the case as of

     4     today.    Her report also related to the crystalline form

     5     patents that had been in the case, but those had been

     6     dismissed by Judge Stark.       Dr. Myerson is similarly

     7     situated.    The opinions that he provided with respect to

     8     Sandoz relate to claim 4 and 5 of the '096 patent.

     9                    In light of                              , we don't

    10     think that there is a proper dispute anymore.           We have

    11     indicated that we don't plan to call Dr. Gozzo or Dr.

    12     Myerson at trial, but Sandoz has indicated that it wants to

    13     pursue the deposition of Dr. Myerson and Dr. Gozzo

    14     nonetheless, and we filed a protective order in this case as

    15     a result.

    16                    Now, the reason that Sandoz gave --

    17                    THE COURT:    Counsel, counsel, if I could

    18     interrupt you for just a minute.

    19                    MS. BHARKHDA:    Yes.

    20                    THE COURT:    So are you telling me that -- so

    21     Sandoz's claim for a D.J. of noninfringement is still

    22     pending.    Is that right?

    23                    MS. BHARKHDA:    There have been -- we have not

    24     filed a motion to dismiss at this point.          Frankly, just to

    25     be clear, the D.J. action is for -- the D.J. claim relates
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     1     broadly to just as the claims of the '096 patent.            It's not

     2     specifically for claims 4 and 5.

     3                    We have not filed a motion to dismiss those.

     4     Our understanding now from Sandoz's letter is that that is

     5     what it thinks is necessary to formally resolve of this

     6     dispute.    We can do so.     We don't think that should be

     7     necessary because I think given                                  , the

     8     parties should be stipulating to dismissal without prejudice

     9     of those portions of the pending claims that relate to

    10     claims 4 and 5, but if Sandoz will not stipulate to that,

    11     then we can file a formal motion to dismiss.           But as of

    12     today, those claims are still in the case.          Regardless, we

    13     think given                                even while such a motion

    14     were pending, if Sandoz indicates that it will require us to

    15     file such a motion, the protective order is still

    16     appropriate because we don't see how their goal, how those

    17     claims are going to remain in the case at the end of such a

    18     motion.

    19                    So this issue about whether or not a motion to

    20     dismiss has been filed seems like form over substance to us

    21     because I don't see a real argument that claims 4 and 5 are

    22     actually still in the case.

    23                    THE COURT:    Well, and I appreciate your argument

    24     about it seeming like form over substance, but the issues

    25     that I'm dealing with is that I am not the Judge who is
Case 1:18-cv-00088-LPS Document 964-1 Filed 11/03/20 Page 38 of 58 PageID #: 41785
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     1     going to be deciding whether or not those claims are in the

     2     case, and it seems to me that my decision is not being made

     3     in a vacuum.

     4                    I can look at the docket and see that there was

     5     some discussion about dismissing claims or counterclaims

     6     relating to the '096 patent, and that Judge Stark said

     7     nothing is going to happen at this time, and if you want to

     8     file a motion to dismiss, you could file a motion to

     9     dismiss, and that didn't happen.        So I don't know the

    10     backstory.     I'm assuming it doesn't really matter because

    11     I'm not the one that would be deciding that motion anyway,

    12     but today as it stands before me, I've got these, the D.J.

    13     counterclaims pending.

    14                    I've heard you say you weren't going to offer

    15     the testimony of Dr. Gozzo and Myerson against Sandoz at

    16     trial and I want to make sure I understand what you are

    17     saying.

    18                    If we move to trial and Sandoz moves forward

    19     requesting a D.J. of noninfringement, are you saying that in

    20     response, you're not going to offer the testimony of Dr.

    21     Gozzo and Myerson?

    22                    MS. BHARKHDA:    Well, Your Honor, if there -- if

    23     by some -- if there is some decision by the Court that the

    24     claims are still in the case, we would have to offer that

    25     testimony at trial, but we don't think there's an actual
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     1     dispute here, and we -- I don't think -- the Judge said that

     2     the parties may file motions to dismiss.          Sandoz has argued

     3     to us that it shouldn't be necessary for the parties to do

     4     that.    We should be agreeing to dismiss all.         In fact, they

     5     said that to the Court when responding, when filing their

     6     motion to dismiss regarding the '910 patents.           They didn't

     7     give us advance notice of their motion to dismiss and then

     8     we decided not to oppose it, so we just filed the response

     9     not opposing it.

    10                    In response to that, Sandoz told the Court that

    11     they believed that they should not have had to go to the

    12     burden and expense of filing the motion to dismiss at all.

    13     We should have just agreed to dismiss the claims, and we

    14     think that that is what should be done here.           We have given

    15     Sandoz advance notice of the fact that we think these claims

    16     should be out of the case.       If by some measure the Court

    17     were to find that there's subject matter jurisdiction here

    18     supporting Sandoz's claims, then we would, we would have to

    19     put on Dr. Myerson and Gozzo at trial.          We don't think

    20     that's the case, and the only basis that Sandoz has given

    21     for why the claims should still be in the case to us is that

    22     they don't believe that                                  is

    23     sufficient.

    24                    Now, we were expecting in Sandoz's responsive

    25     letter brief to Your Honor consistent with what they put in
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     1     their discovery dispute letter that they were going to

     2     explain the basis, the legal basis for their contentions

     3     that                                                         didn't

     4     extinguish the case or controversy.         So that's their basis

     5     for saying they would need to go forward, would be a

     6     deposition.     At least that was articulated to us prior to

     7     receipt of their responsive letter.

     8                    And they did not do so, which I think reinforces

     9     our point that we think it is legally sufficient and there's

    10     no basis for (inaudible) the claims in the case.           But if the

    11     real concern is that there's no actual motion to dismiss on

    12     file, we'll file one immediately, but we don't think that

    13     should be necessary and Sandoz we don't think has a legal

    14     position to oppose it.

    15                    So there still isn't a basis to go forward with

    16     these depositions in the meantime if the likely outcome of a

    17     motion to dismiss even if Sandoz isn't going to oppose it or

    18     that we will prevail with Judge Stark.

    19                    THE COURT:    All right.    One question I had about

    20     that is, we're in September, we're in late September, and so

    21     this is two months after I see a docket entry saying that if

    22     anyone wants to file any motions to dismiss, they should

    23     file it.    So I'm trying to understand how what happened in

    24     the meantime in terms of why is there so much delay in the

    25     motion to dismiss.
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     1                    MS. BHARKHDA:    Sure.    I'm happy to explain the

     2     timeline.

     3                    So on July 7th, Sandoz told plaintiffs that they

     4     believed that the claims relating to the '096 patent should

     5     be dismissed without prejudice.         On July 8th, Sandoz told

     6     the Court the same thing.       They -- and that was in docket

     7     entry 39.

     8                    Plaintiffs' counsel was considering that

     9     position, and on July 22nd, we informed Sandoz that and

    10     Judge Stark that we were no longer asserting claims 4 and 5

    11     of the '096 patent against Sandoz.         We made that very clear

    12     in July, as soon as plaintiff, our clients were onboard that

    13     we were no longer pursuing those claims.          And we thought

    14     that frankly would resolve the issue because Sandoz had

    15     repeatedly been on record with both plaintiff and the Court

    16     indicating that they didn't believe there was subject matter

    17     jurisdiction over any of the claims of the '096 patent.             But

    18     on that same date, Sandoz made an about face and stated that

    19     they would, that they didn't agree that claims 4 and 5 of

    20     the '096 patent were out of the case, and instead Sandoz

    21     demanded                                                and indicated

    22     that they would insist on deposing Dr. Myerson and Dr. Gozzo

    23     unless

    24                    Now, that was -- and that happened on July 28th.

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Case 1:18-cv-00088-LPS Document 964-1 Filed 11/03/20 Page 42 of 58 PageID #: 41789
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    10     the claims are no longer in the case, and Drs. Myerson and

    11     Gozzo didn't need to be deposed.

    12                    And in their previous position, Sandoz indicated

    13     they did not agree to that, that they didn't think

    14                was sufficient, and they were going to proceed with

    15     the depositions of Dr. Myerson sand Dr. Gozzo, hence our

    16     filing of the, of our motion for a protective order.

    17                    And the first tame that we -- and we are clear

    18     that we think Sandoz should be stipulating to dismissal

    19     without prejudice of the claims because we don't think

    20     they're in the case, and this is the -- the first time that

    21     we heard Sandoz's argument that the real problem here is

    22     that we have not filed a formal motion to dismiss within the

    23     letter briefs to the Court on this Tuesday.

    24                    So we can file a formal motion to dismiss to

    25     resolve the dispute, but all of the facts are going to be
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     1     the same and there's no cause for deposing these witnesses

     2     at this point in time.

     3                    THE COURT:    All right.    I gave you some extra

     4     time and I will give the other side some equal time, but I

     5     have one more question.       Assuming that I do permit the

     6     deposition of Dr. Gozzo and Myerson to go forward, there's

     7     this other issue about whether or not you're barred from

     8     conferring with Dr. Gozzo in preparation of her deposition.

     9                    Can you just tell me what has happened with Dr.

    10     Gozzo so far?     Was there a portion of her deposition that

    11     was joint and then portions that were specific to individual

    12     defendants or have all of the depositions of Dr. Gozzo been

    13     individual issue depositions?

    14                    MS. BHARKHDA:    There were two prior individual

    15     issue depositions of Dr. Gozzo.        There was no joint

    16     questioning and no joint deposition.         There was a deposition

    17     by MSN and a deposition by Torrent, and they were separate

    18     self-contained depositions.

    19                    If Your Honor would like to see, for example,

    20     the transcript of those indicating that they -- showing that

    21     they went only lawyers for MSN were at the MSN deposition.

    22     They went on the record and began as the normal deposition

    23     and they closed the deposition at the end.          The Torrent

    24     deposition was only attended by Torrent's lawyers, and

    25     obviously, lawyers for plaintiffs were on both.           They opened
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     1     the deposition as a separate deposition and closed it as a

     2     separate deposition.

     3                    So I'm happy to provide.      And there were only

     4     questions about -- they pertained to the individual

     5     infringement issues for MSN and Torrent each respectively.

     6     And if Your Honor would like to see the transcript of those,

     7     we're happy to provide them.

     8                    THE COURT:    No, I don't, I don't need to see it.

     9     But just to be clear, those were also marked confidential

    10     under the protective order as well?

    11                    MS. BHARKHDA:    Yes.

    12                    THE COURT:    Okay.   Very good.

    13                    All right.    Let me hear from Sandoz regarding

    14     the issues in dispute.       Go ahead, counsel.

    15                    MR. REMUS:    Thank you, Your Honor.      This is Mark

    16     Remus.    I will be speaking on behalf of Sandoz and Lex.

    17                    This is not a matter of form over substance.           I

    18     think it's very important to resolving this issue to keep

    19     our eyes focused on what specifically the Court has been

    20     asked to decide, and that is should plaintiff get a

    21     protective order preventing further discovery of their

    22     experts by Sandoz?      What is not before the Court is whether

    23     or not there's a case or controversy or continuing subject

    24     matter jurisdiction.

    25                    Plaintiffs have not filed that motion.         Judge
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     1     Stark told them that if they wanted to challenge

     2     jurisdiction, they need to file a motion and they have not

     3     done that.     So the only issue that we're here to discuss

     4     today is whether or not their application for protective

     5     order is proper and Sandoz strongly believes it is not

     6     proper.

     7                    Plaintiffs' request is contrary to both the

     8     letter and the spirit of local Rule 30.2.          Local Rule 30.2

     9     allows somebody to challenge further deposition testimony to

    10     get a protective order under Rule 26 or Rule.           Protective

    11     orders for those rules are granted to prevent annoyance,

    12     embarrassment, oppression.       None of that is present here.

    13                    The only basis for plaintiffs' request is that

    14     they think there's no longer subject matter jurisdiction.

    15     The only challenge for that is to file a Rule 12 motion, and

    16     Rule 12 is not mentioned anywhere in local Rule 30.2 as a

    17     basis for terminating a deposition.

    18                    Plaintiff took it upon themselves for self-help

    19     to give themselves a stay of discovery and filed its motion

    20     for a protective order on an improper basis knowing full

    21     well that Judge Stark told them if they want to get rid of

    22     the claim, they have to file a motion to dismiss.

    23                    Now, all of this gamesmanship by plaintiffs has

    24     worked a great prejudice on Sandoz.         Sandoz coordinated with

    25     MSN and Torrent in an extent to streamline the deposition of
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     1     Dr. Gozzo.

     2                    Plaintiff sat on this issue for many weeks as

     3     you just heard and then ripped the rug out underneath from

     4     defendants just days before the Gozzo deposition, which

     5     frustrated preparation for all parties on the Gozzo

     6     deposition, and now plaintiffs seek to exacerbate that

     7     prejudice by asking this Court to forego local Rule 30.6 and

     8     allow them to speak to Dr. Gozzo before Sandoz takes Dr.

     9     Gozzo's deposition.      And that is wholly improper.

    10                    Local Rule 30.6 is designed for exactly where --

    11     the situation where counsel should not be allowed to talk to

    12     their witness about the substance of their testimony based

    13     on questions that have already been asked.          This notion that

    14     each defendant constitutes a separate deposition is a legal

    15     fiction that was created by Covington in these letters and

    16     has no basis in all of the history of this case up until

    17     this particular dispute, and we cited that in our letter

    18     brief where both Judge Stark and plaintiffs themselves

    19     referred to a deposition of Dr. Myerson and Dr. Gozzo in the

    20     singular, and this case has been consolidated for all

    21     purposes.

    22                    So this deposition of Dr. Gozzo is a single

    23     deposition and plaintiffs should not be allowed to review

    24     that transcript from the MSN and Torrent depositions and

    25     then coach Dr. Gozzo what to say for the Sandoz depositions
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     1     based on what they've already learned.

     2                    This is no different than if Dr. Gozzo were

     3     testifying on the stand at trial.         If MSN and Torrent finish

     4     their questioning of Dr. Gozzo, I would be shocked if Judge

     5     Stark allowed plaintiffs to then talk to Dr. Gozzo about the

     6     substance of her testimony before Sandoz questioned Dr.

     7     Gozzo.    The same should apply to the depositions here.

     8                    As Your Honor noted, we don't have much time.

     9     Trial is set for January of 2021.         We need to schedule these

    10     depositions of Dr. Gozzo and Dr. Myerson so that we can be

    11     trial ready by the time set by Judge Stark.

    12                    There is no basis for a protective order here.

    13     If plaintiffs want to challenge subject matter jurisdiction,

    14     Judge stark told them how to do that, and that is filing a

    15     Rule 12 motion.

    16                    THE COURT:    Counsel, let me ask you.      The way I

    17     understood how Dr. Gozzo's deposition or depositions have

    18     been proceeding is that they've been completely separate

    19     among defendants.      You're suggesting something different.

    20     Can you straighten me out here?

    21                    MR. REMUS:    I can't speak to how the MSN and

    22     Torrent depositions specifically were handled because we

    23     were not present at that deposition, so we can't say what

    24     was or was not on the transcript.         What I can say is that

    25     every discussion the parties have had about these
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     1     depositions refer to the depositions in the singular, a

     2     deposition of Dr. Myerson, and just because one defendant

     3     finishes their questioning and another begins does not mean

     4     that a new deposition has begun.

     5                    THE COURT:    Okay.   I understand your position.

     6     Anything else you wanted to add?

     7                    MR. REMUS:    No.   Thank you, Your Honor.

     8                    THE COURT:    All right.    We'll turn it back over

     9     to the plaintiff for the last word.         Just a minute, please.

    10     Go ahead.

    11                    MS. BHARKHDA:    Your Honor, I did want to address

    12     the issue of the legal standard for a protective order for

    13     absent burden, annoyance, and there is a reason here

    14     particularly why going forward with depositions that are not

    15     actually going to be at issue in the case totally meets that

    16     standard.

    17                    First of all, Dr. Myerson is scheduled to sit

    18     for more than 40 hours of depositions in this case, and so

    19     to ask him if Sandoz, if Sandoz matters are not really

    20     particularly in this case, to sit for more time is a burden

    21     both to the witness and to plaintiffs.

    22                    Dr. Gozzo, similarly.      We would have to take

    23     additional time out of the deposition she has already given

    24     to do so.    And as a general matter, there are 29 different

    25     experts in this case.       There are at least two to three
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     1     depositions that happen in a week.         Some of these are

     2     multi-day accept depositions in this case, so there is a lot

     3     happening to add on two depositions here where the actual

     4     issues are not in dispute.

     5                    And the other issue is that right now Dr.

     6     Myerson is scheduled to be deposed, I believe it's the

     7     second week of November, and so even if plaintiff filed

     8     their motion and (inaudible) and was going to dismiss, I

     9     think issue is, the question of whether or not it's

    10     appropriate for Sandoz to participate in that deposition is

    11     still going to be an issue and we don't think it's

    12     appropriate or proper.

    13                    So it's not just a matter of file a motion to

    14     dismiss and wait to see what Dr., excuse me, what Judge

    15     Stark does with it.      I mean, one question is, if we file a

    16     motion to dismiss, is Sandoz going to oppose it, because

    17     right now we don't have a clear answer on that one way or

    18     the other or what the basis for doing so would be, and

    19     absent that, this bogeyman of the fact that a formal motion

    20     to dismiss hasn't been filed yet I don't think resolves the

    21     issue.

    22                    THE COURT:    All right.    I appreciate your

    23     position and I understand your position.          Counsel, I'm ready

    24     to rule on this dispute and my ruling is as follows.

    25                    Plaintiffs' request for a protective order to
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     1     prevent Sandoz from deposing Dr. Gozzo and Myerson is

     2     denied.    The Court can issue a protective order for good

     3     cause to protect a person or party from annoyance,

     4     embarrassment, oppression, or undue burden or excess.            The

     5     burden of persuasion is on the party seeking the protective

     6     order.

     7                    Here, plaintiff contends that good cause exists

     8     because the deposition testimony is not relevant.            I have

     9     reviewed the letters and attachments.         I've reviewed the

    10     cited portions of the docket.        I have an understanding of

    11     what's likely going on here and I'm fully aware that this

    12     motion before me is only a little piece of a much larger

    13     dispute, but I've only been referred this piece and I'm only

    14     going to decide this piece.        And in my mind, the operative

    15     facts to me in deciding my piece are these.

    16                    One, Sandoz has a live counterclaim for a

    17     declaratory judgment of noninfringement.          Not only is it

    18     live, it is not currently subject to a motion to dismiss.

    19                    Two, plaintiff intends to offer the testimony of

    20     Dr. Gozzo and Myerson in defense of that counterclaim it has

    21     tried.

    22                    My decision is also informed by the context

    23     here, which is that we're talking about a video deposition

    24     regarding infringement opinions that have already been set

    25     forth in expert reports.       The only question is whether
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     1     Sandoz can depose these experts on those opinions.            On those

     2     facts, plaintiffs' request is denied.

     3                    There is also an issue about plaintiffs, whether

     4     plaintiffs are currently barred under Delaware local Rule

     5     30.6 from conferring with Dr. Gozzo in preparation of her

     6     deposition.     Essentially, as I understand it, Sandoz seeks

     7     to prevent plaintiff from prepping Dr. Gozzo for her

     8     deposition.

     9                    Under the particular circumstances here, I'm

    10     unpersuaded by Sandoz's argument.         Again, I've read the

    11     submissions and I've looked at the relevant portions of the

    12     docket and we're not operating in a vacuum here.           Chief

    13     Judge Stark has already ruled on what depositions can be

    14     taken of Dr. Gozzo.      I understand that Dr. Gozzo's

    15     deposition taken by the other two defendants have been

    16     completely separate.      There is no common portion of that

    17     deposition.     However, notwithstanding the fact that

    18     plaintiff can prep Dr. Gozzo, Sandoz will be permitted to

    19     conduct a short colloquy at the beginning of the deposition.

    20                    You can ask if plaintiff consulted with Dr.

    21     Gozzo prior to the deposition.        If that answer is yes, you

    22     can ask whether Dr. Gozzo consulted with counsel for

    23     plaintiff regarding testimony she has already given.            You

    24     can't ask what was said.       And you can ask about which areas

    25     of the testimony already given was the consultation.            You
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     1     can't ask what was said.       And you can make a record that

     2     this happened.

     3                    If, for whatever reason, Dr. Gozzo presents

     4     diametrically opposed testimony, then you can try to make

     5     some hay with Judge Stark at trial, because I understand

     6     this is going to be a bench trial.         But I actually think

     7     this is extremely unlikely to happen in light of the fact

     8     that it seems to me this case, or these particular claims

     9     won't be tried, number one, and, number two, I think it's

    10     unlikely that the plaintiff would present diametrically

    11     opposed testimony, but that's not for me to say.           You can

    12     make this record.      I hope that was clear to everyone.

    13                    Counsel for plaintiff, any questions?

    14                    MS. BHARKHDA:    I don't believe so, Your Honor.

    15                    THE COURT:    Okay.   Counsel for Sandoz, any

    16     questions?

    17                    MR. REMUS:    No questions, but one request, and

    18     that is we would ask that at least temporarily that the

    19     court reporter maintain this transcript under seal so that

    20     we have an opportunity to review it to see if there's

    21     anything confidential.

    22

    23                                                      , and we would just

    24     like the opportunity to review that transcript before it

    25     becomes public.
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     1                    THE COURT:    That's fine.    I understand that

     2     we're proceeding under the scheduling order that Judge Stark

     3     has entered in this case, and my recollection is that he has

     4     a standard provision about how these things should be

     5     treated, and if that's the appropriate procedure, then we'll

     6     let the transcript be marked confidential and you should

     7     proceed in accordance with what other followup procedures

     8     are set forth in the scheduling order.

     9                    Anything else, counsel?

    10                    MR. REMUS:    No.    Thank you, Your Honor.

    11                    THE COURT:    All right.     Thank you to all of you.

    12     I hope everyone is safe and well, and we'll be adjourned.

    13                    (Counsel respond, "Thank you, Your Honor.")

    14                    (Telephone conference concluded at 2:31 p.m.)

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